
597 F.Supp. 462 (1984)
FLIGHT INTERNATIONAL, INC., Plaintiff,
v.
FEDERAL RESERVE BANK OF CHICAGO, et al., Defendants.
Civ. A. No. C83-2696A.
United States District Court, N.D. Georgia, Atlanta Division.
November 19, 1984.

ORDER
SHOOB, District Judge.
This matter comes before the Court on the motion by Defendant, Federal Reserve Bank of Chicago, for an order vacating the Memorandum of Opinion and Order entered in this action on February 24, 1984. 583 F.Supp. 674. On consideration thereof, it appearing to the Court that all claims asserted in this action have been settled, that this action was dismissed with prejudice by stipulation of all parties on October 22, 1984, and that the motion before the Court is unopposed, and it further appearing *463 to the Court that Defendant is entitled to the requested relief, it is therefore
ORDERED that the Memorandum of Opinion and Order entered in this action on February 24, 1984, shall be, and hereby is, vacated and shall have no precedential effect.
